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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

              In re National Football League Players’ Concussion Injury Litigation

                                     No. 2:12-md-02323-AB


             SUPPLEMENTAL DECLARATION OF BRIAN T. FITZPATRICK


     1.        I filed a declaration in this Court on October 10, 2017, opining that the fee

allocation proposed by lead counsel in this case was reasonable.         Several law firms filed

responses to the proposed allocation, and lead counsel asked me to review them and weigh

whether they alter my opinion that the proposed allocation here is reasonable. They do not.

     2.        The gravamen of the opposition to the proposed allocation is not that lead counsel

failed to credit the work of various law firms as sufficiently important, but, rather, that lead

counsel failed to give the law firms enough work to begin with. That is more of a challenge to

how lead counsel prosecuted this case than it is to the allocation of fees, and there is little the

court can do about it now: the court cannot go back in time and ask lead counsel to reallocate the

work. But even if this were the time and the place to complain about how lead counsel

prosecuted the case, I will note that nothing about how the work was allocated in this case strikes

me as unreasonable. When this case began, it looked like the typical mass tort MDL: the

defendant’s product allegedly caused thousands of people many different sorts of physical

injuries, and it looked like it might take years of discovery, examination of experts, motions

practice, and bellwether trials before the thousands of cases might settle. MDLs that like require

lead counsel to farm work out to a legion of different lawyers through an elaborate committee

structure. Although that’s how this case began, it’s not how it ended. This case ended as a class

action settlement before discovery—expert or otherwise—had even begun. In other words,

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unlike most mass tort MDLs, this case ended up being almost entirely about how to devise a fair

settlement that could be achieved through Fed. R. Civ. P. 23. That resolution did not require

legions of law firms working through an elaborate committee structure; it required a small group

of very creative and dedicated lawyers. And that’s exactly who handled this case.

     3.        With respect to the proposed fee allocation itself, as I noted in paragraph 10 my

opening declaration, as far as I am aware, this is the most equitable range of lodestar multipliers

that has ever been used in a fee allocation. None of the law firms opposed to the proposal

disputed that fact. Instead, some of the law firms oppose using the lodestar method at all.

Indeed, some of the firms went so far as to imply that it was inconsistent with one of my

declarations in the Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products

Liability Litigation for me to support using the lodestar method here.        See ECF No. 8701

(Anapol), at 14 n.8; ECF No. 8720-2 (Tarricone), at 10 n.6. But my declaration in Volkswagen

was directed to the reasonableness of an aggregate fee award, not to the reasonableness of the

allocation of an aggregate award. I generally oppose the lodestar method and support the

percentage method for aggregate awards because the percentage method creates better incentives

for class counsel. But the percentage method is not as viable for the allocation because we do

not have a pre-existing market of fee percentages to draw upon. For example, for the aggregate

award, we know that contingency-fee lawyers usually charge 33% for their work and we know

that courts usually award successful class action contingency-fee lawyers 25%; we can start with

these numbers and work our way to a proper aggregate percentage. But where would we start for

the allocation?   Is there a pre-existing market that tells us what a lawyer assigned to do

communications should get as a percentage? The lawyers assigned to discovery? To settlement

negotiations? Not that I am aware of. This is why, absent an agreement among the lawyers on



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what their relative percentages will be, in my experience, courts, special masters, and lead

counsels use the lodestar method to allocate. This is not to say that the lodestar method is ideal.

Using the lodestar method to allocate fees can cause some of the same bad incentives I worry

about when it is used for aggregate awards: if firms know they will be apportioned fees based on

how big their lodestars are, they will churn and inflate their hours. Lead counsel can counter

these incentives to some degree by adjusting the lodestar multipliers, as lead counsel did here.

But maybe one day someone will invent an even better method—it is a problem I have been

working on personally for some time now.

     4.        Pursuant to 28 U.S.C. § 1746, I declare the foregoing true and correct under

penalty of perjury.




                                                       /s/ Brian T. Fitzpatrick

                                                       Brian T. Fitzpatrick

                                                       Nashville, TN

                                                       November 17, 2017




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